 Case 8:21-cv-01638-KKM-AEP Document 1 Filed 07/08/21 Page 1 of 9 PageID 1




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

STEPHANIE KLEIN,

      Plaintiff,
v.                                                  Case No.:

FINANCIAL BUSINESS AND
CONSUMER SOLUTIONS,
INC. d/b/a FBCS, and
JEFFERSON CAPITAL
SYSTEMS, LLC,

     Defendants.
__________________________/

                            NOTICE OF REMOVAL

To:   Judges of the United States District Court for the Middle District of Florida

      Defendants, Financial Business and Consumer Solutions, Inc. d/b/a FBCS

(“FBCS”) and Jefferson Capital Systems, LLC (“Jefferson Capital”), by and through

their attorney, Ruel W. Smith, file their Notice of Removal pursuant to 28 U.S.C. §§

1441(a) and 1446, and in support thereof, state as follows:

      1.     On or about December 2, 2020, Plaintiff, Stephanie Klein, filed a

complaint against FBCS and Jefferson Capital in the Sixth Judicial Circuit in and for

Pinellas County, Florida.




                                                                       1040133\308483072.v1
    Case 8:21-cv-01638-KKM-AEP Document 1 Filed 07/08/21 Page 2 of 9 PageID 2




           2.      Process was served upon Defendant Jefferson Capital on or about

February 11, 2021. Process was served upon Defendant FBCS on or about June 11,

2021. Jefferson Capital has consented to the removal, as in multi-defendant cases,

the last defendant served can remove an action even if thirty days have passed for

all other defendants. 28 U.S.C. § 1446(b)(2)(C). A copy of the summons to Jefferson

Capital is attached hereto as Exhibit A. A copy of the summons to FCBS is attached

hereto as Exhibit B.

           3.      Defendants file with this Notice true and correct copies of all pleadings

filed in the above-referenced State action.

           4.      The complaint asserts a federal cause of action against Defendants for

purported violations of the Fair Debt Collection Practices Act (“FDCPA”). 1

           5.      This Notice was filed with the Clerk of the United States District Court

within thirty (30) days after service of the complaint upon the Defendants. 28 U.S.C.

1446(b).

           6.      28 U.S.C. § 1441(b) provides as follows:

                   (b) Any civil action of which the district courts have original
                   jurisdiction founded on a claim or right arising under the Constitution,
                   treaties or laws of the United States shall be removable without regard
                   to the citizenship or residence of the parties. Any other such action shall
                   be removable only if none of the parties in interest properly joined and
                   served as defendants is a citizen of the state in which such action is
                   brought.


1
    The Complaint also asserts a cause of action under the Florida Consumer Collection Practices Act (“FCCPA”).

                                                          2
                                                                                                 1040133\308483072.v1
 Case 8:21-cv-01638-KKM-AEP Document 1 Filed 07/08/21 Page 3 of 9 PageID 3




          7.    The United States District Court for the Middle District of Florida has

jurisdiction over the plaintiff’s claim due to the fact that the allegations against

Defendants contained in her complaint arise under the Constitution, laws or treaties

of the United States. 28 U.S.C. § 1331.

          8.    In the complaint, plaintiff alleges that FBCS was acting as a debt

collector and Jefferson Capital was acting as a debt owner in attempting to collect a

debt from the plaintiff.

          9.    Plaintiff claims Defendants violated §§ 1692e, 1692e(10), 1692f, and

1692(g) of the FDCPA in their attempted collection of plaintiff’s debt. Plaintiff

seeks recovery under the FDCPA of statutory damages, actual damages, and costs

and reasonable attorney fees.

          10.   Therefore, the plaintiff’s complaint invokes federal question

jurisdiction, as the allegations involve claims under the FDCPA, 15 U.S.C. § 1692

et seq.

          11.   This Court has and should exercise supplemental jurisdiction over

plaintiff’s state law FCCPA claims by virtue of the Court’s original jurisdiction over

plaintiff’s FDCPA claim. 28 U.S.C. § 1367(a).

          12.   This Court should exercise supplemental jurisdiction over plaintiff’s

FCCPA claims because they arise from the same core of (alleged) operative facts

and involve substantially similar questions of law as plaintiff’s FDCPA claim. 28

                                            3
                                                                         1040133\308483072.v1
 Case 8:21-cv-01638-KKM-AEP Document 1 Filed 07/08/21 Page 4 of 9 PageID 4




U.S.C. § 1367(a). Indeed, all of the claims asserted in Plaintiff’s Complaint arise

from Defendant’s allegedly improper debt collection activity, and therefore form

part of the same case or controversy. Moreover, Plaintiff’s FCCPA claims do not

involve novel or complex issues of Florida law or substantially predominate over the

federal claims, and there are no other “compelling” reasons for declining

supplemental jurisdiction in this case. See 28 U.S.C. §§ 1367(a); (c).

      WHEREFORE, the Defendants, Financial Business and Consumer Solutions,

Inc. and Jefferson Capital Systems, respectfully request that this case proceed in this

court as an action properly removed to it.

                          CERTIFICATE OF SERVICE

      I hereby certify that on July 8, 2021, a true and correct copy of the foregoing

was furnished via electronic mail to counsel for Plaintiff, Kaelyn Diamond, Esquire,

Law Office of Michael A. Ziegler, P.L., 2561 Nursery Road, Suite A, Clearwater,

FL 33764, kaelyn@attorneydebtfighters.com.

                                         Respectfully submitted,

                                        /s/ Ruel W. Smith, Esq.
                                        FBN 36548
                                        rsmith@hinshawlaw.com
                                        Hinshaw & Culbertson LLP
                                        100 South Ashley Drive, Suite 500
                                        Tampa, FL 33602
                                        T – 813-868-8831; F – 813-436-8738
                                        Attorney for Defendants Financial Business
                                        and Consumer Solutions, Inc. and Jefferson
                                        Capital Systems

                                          4
                                                                         1040133\308483072.v1
           Case 8:21-cv-01638-KKM-AEP Document 1 Filed 07/08/21 Page 5 of 9 PageID 5




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 22758734
Notice of Service of Process                                                                            Date Processed: 02/14/2021

Primary Contact:           Sharon Sauer
                           Jefferson Capital International
                           16 McLeland Rd
                           Saint Cloud, MN 56303-2198

Electronic copy provided to:                   Diana Orellana
                                               Joe Fejes
                                               Donielle Lambert
                                               Chris Brixius

Entity:                                       Jefferson Capital Systems, LLC
                                              Entity ID Number 2793010
Entity Served:                                Jefferson Capital Systems LLC
Title of Action:                              Stephanie Klein vs. Financial Business and Consumer Solutions, Inc. d/b/a
                                              FBCS
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Violation of State/Federal Act
Court/Agency:                                 Pinellas County Court, FL
Case/Reference No:                            20-008943-SC
Jurisdiction Served:                          Florida
Date Served on CSC:                           02/11/2021
Answer or Appearance Due:                     02/23/2021
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Kaelyn Diamond
                                              727-538-4188

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                              EXHIBIT A
Case 8:21-cv-01638-KKM-AEP Document 1 Filed 07/08/21 Page 6 of 9 PageID 6




                             County Court, Pin~~las County, Florida
                                      Small Claims Division
                             (727) 464-7000 - www.m ninpl!ast:lerh.om

                                       REF:20-008943-SC         North

      STEPHANIE KLEIN Vs. FINANCIAL BUSINESS AND CONSUMER SOLUTIONS INC, DOING
                  BUSINESS AS FBCS, JEFFERSON CAPITAL SYSTEMS LLC

TO:      EFENDANT/DEFENDANTATTORNEY                                       TIME:
        JEFFERSON CAPITAL SYSTEMS LLC
        1201 HAYS STREET                                                  DATE:                        FEa ~~ 202~
        C/O CORPORATION SERVICE COMPANY                                            ~
        TALLAHASSEE FL 32301                                              SEFi1/ER:                            CK
            SUMMONS/NOTICE TO APPEAR REMOTELY FOR PRETff~+:CONFERENCE

THE STATE OF FLORIDA
                        NOTICE TO PLAINTIFF(S) AND DEFENDANT(S)
        YOU ARE HEREBY NOTIFIED that you are required to appear in person or by attorney via the
Zoom platform on Tuesday, February 23, 2021 at 11:30 AM for a PRE-TRIAL CONFERENCE before a
judge of the court.

 To attend thls meeting by video go to:               If you are unable to appear by vtdeo, call;
        https://www.zoom.us/join                                    1 786 635 1003
                                                                    1 470 250 9358
                               Meeting ID: 961 8996 9763 Password 447189

Instructions for Zoom hearings:
•      The Court has multiple hearings scheduled at this time. Join the Zoom meeting promptly at the
       designated time and wait to be admitted into the hearing.
•       If you are using the video conferencing, be sure your profile name is your first and last name. If
       this is not your default, you will have the option to change it after you join the meeting.
•      Although the hearing is conducted virtually, proper decorum should be maintained. Appropriate
       attire is required of all participants. Participants should be in a quiet setting and minimize any
       external distractions.
•     Mute your microphone when you are not required to speak.

                              IMPORTANT — READ CAREFULLY
                        THIS CASE W ILL NOT BE TRIED AT THAT TIME.
               DO NOT BRING WITNESSES — APPEAR IN PERSON OR BY ATTORNEY

        The defendant(s) must appear in court on the date specified in order to avoid a default judgment.
The Plaintiff(s) must appear to avoid having the case dismissed for lack of prosecution. A written
MOTION or ANSWER to the court by the plaintiff(s) or defendant(s) shall not excuse the personal
appearance of a party or its attorney in the pre-trial conference. The date and time of the PRE-TRIAL
CONFERENCE CANNOT be rescheduled without good cause and prior court approval.

Any business entity recognized under Florida law may be represented at any stage of the trial court
proceedings by any principal of the business entity who has legal authority to bind the business entity or
any employee authorized in writing by a principal of the business entity. A principal is defined as being an
officer, member, managing member, or partner of the business entity. Written authorization must be
brought to the Pre-Trial Conference.

        Upon service of this summons/notice, if you are unrepresented, please complete a Designation of
E-Mail Address for Party Not Represented by an Attorney form and file it with the Clerk of Court. This
form may be found on ;vvar_r}~~:.? '_:4^i~~c c^rg_~c: "s and may be filed electronically via the Florida
Case 8:21-cv-01638-KKM-AEP Document 1 Filed 07/08/21 Page 7 of 9 PageID 7




Courts E-Filing Porta~at s.;^rv_m~~cau;1:~_cct s_carr. or by mail or hand-delivery to an office of the Clerk of
Court.
        The purpose of the pre-trial conference is to record your appearance, to determine the nature of
the case, and to set the case for trial if the case cannot be resolved at the pre-trial conference.

         You may be ordered to mediate at the pre-trial conference. Mediation means "A process
whereby a neutral third person called a Mediator acts to encourage and facilitate the resolution of a
dispute between two or more parties. It is an informal process with the objective of helping the disputing
parties reach a mutuaily acceptable and vofuntary agreement." You or your attomey must have full
authority to settle without further consultation at pre-trial mediation.

         You or your attorney shouid be prepared to confer with the court and to explain briefly the nature
of your dispute, state what efforts have been made to seftle the dispute, exhibit any documents necessary
to prove the case, state names and addresses of your witnesses, stipulate to the facts that will require no
proof and wiil expedite the trial, and estimate how long it will take to try the case.

       If you admit the claim, but desire additional time to pay, you must come and state the
circumstances to the court. The court may or may not approve a payment pian and withhold judgment,
execution, or levy.

        RIGHT TO VENUE. The law gives the person or company who has sued you the right to file
In any one of several places as listed below. However, If you have been sued in any place other
than one of these places, you, as the defendant(s), have the right to request that the case be
moved to a proper location or venue. A proper locatlon or venue may be one of the foliowing: (1)
where the contract was entered Into; (2) If the suit is on an unsecured promissory note, where the
note Is signed or where the maker resides; (3) If the suit is to recover property or to foreclose a
lien, where the property Is located; (4) where the event giving rise to the suit occurred; (5) wheee
any one or more of the defendants sued reside; (6) any location agreed to in a contract; (7) ln an
action for money due, If there is no agreement as to where sult may be flled, where payment Is to
 be made.
         If you, as the defendant(s), believe the plaintiff(s) has/have not sued in one of these correct
 places, you must appear on your court date and orally request a transfer, or you must file a WRITTEN
 request for transfer in affidavit form (sworn to under oath) with the court seven days prior to your first
 court date and send a copy to the plaintiff(s) or plaintiff's (s') attorney, if any.

         A copy of the statement of claim shall be served with the original, alias and pluries summons.

         Dated on January 15, 2021, in Clearwater, Florida


                                                                            TCEN B:l7RKE, CP:1l
                                                                            CLLt33: t7F Tf-T6 G1RC.t11T COtiti'T
                                                                            ..'K COMPxI:'OLt.6R

 If you are a person with a disability who needs any accornmodation in order
 to participate in this proceeding, you are entitled, at no cost to you, to the
 provision of eertain assistance. Please contact the Human Rights Office, 400
 S. Ft. Harrison Ave., St.e. 300, Clearwater, FI., 33756, (727) 464-4062 (VPI'DD),
 at least 7 days before your scheduled court appearance, or imrnediately upon
 receiving this notification if the time before the scheduled appearance is less
 than 7 days; if you are hearing or voice impaired, call 711.
  Case 8:21-cv-01638-KKM-AEP Document 1 Filed 07/08/21 Page 8 of 9 PageID 8


                          COI.JNTY COU]C2T, PINELLAS COIJNTY, FLORIDA
                                    SIdIALL CLAIMS I)IVISION
                                     (727) 464-7000 - www.mypinellaselerk.org
                                             REF: 20-008943-SC - North
STEPI-IA:hIE KLEIN Vs. FINANCIAL BUSINESS AND                                             TIME:                       ~l
CONSUMF,R SOLUTIONS INC, DOING BUSINESS AS FBCS,
JEFFERSON CAPITAL SYSTEMS LLC                                                             DATP:
TO : DEFENDANT/DEFENDAN                '                                                  ,~~,
                                                                                              ERVER
~TI       NCIAL B_CISINESS AND CONSUMER SOLUTION 7
      0-1-HAYS STREET                                                                     sd
    C/O CORPORATION SERVICE COMPANY
    TALLAI-IASSEE, P'L 32301
     ALIAS SUMMONS/NOTICE TO APPEAR REIIZOTELY FOR PRE-TRIAI, CONFERENCL+"
T.HE STATE OF FLORIDA :
                           NOTICE TO PLAINTIFF(S) AND DEFENDANT(S)
YOU ARE HEREBY NOTIFIED that you are required to appear in person or by attorney via the Zoom
platform on 1Vlonday, September 13, 2021 at 1:00 PM. for a PRE-TRIAL CONFERENCE before a judge
of the court.
       To attend this meeting by video go to:        If you are unable to appear by video, call:
              https:/hvww.zoom.us/join                    1 786 635 1003 or 1 470 250 9358
                               Meetfng ID: 922 0085 8141 Password 083909
                                                    Instructlons for Zoom hearings:
 - The L'ourt has niultiple hearings scheduled at this time. Join the Zoom meeting promptly at the designated tinie and wait to be
admitted into the hearing.
- If you are using ₹he video conferencing, be sure your profile natne is your first and last name. If this is not your default, you will
have the option to change it after you join tlie meeting.
- Although the hearing is conducted virtually, proper decorum should be maintained. Appropriate attire is required of all
participants. Participants should be in a yuiet setting and minimize aiiy external distractions.
- Miite your microphonc wtien you are not required to speak.

                                 IM.PORTANT - READ CAREFULLY
                           THIS CASE WILL NOT BE TRIED AT THAT TIME,
                   DO NOT BRING WITNESSES- APPEAR IN PERSON OR BY ATTORNEY
    The defendant(s) irrust appear .in court oti the date specified in order to avoid a default judgment. The Plaiiitiff(s)
nuist appear to avoid having the case dismissed for lack of prosecution. A written MOTI.ON or ANSWER to the coitrt
by the plaintiff(s) or defendants(s) sliall not excuse the personal appearance of a party or its attorney in the pre=trial
cotiference. The date and time of the PRE-TRIAL CONFEREN.CE CANNOT be rescheduled without good cause and
prior court approval.

     Any business entity recognized under Florida law may be represented at any stage of the trial court proceedings by
any principal of the business entity who has legal aut.hority to bind the business entity or any employee authorized in
writing by a principal of the business entity. A principal is defined as being an oFfice"r, meniber, rnanaging tnember, or
pariner of the business entity. Written authorization rnust be brought to the Pre-Trial Conference.


Srnall Claims Deft Pre-Trial Notice                      Page 1 of 2




                                                                                                                                           ~j




                                                            EXHIBIT B
  Case 8:21-cv-01638-KKM-AEP Document 1 Filed 07/08/21 Page 9 of 9 PageID 9


     Upon service of this summons(notice, if you are uiirepresented, please complete a Designation of E-.Mail
 Address for Pai-ty Not Itepresented by an Attorney fonn and file it with the Clerk of Court. This fornt niay
 be found on www.mypinellasclerk.org/Forins and may be filed clectronically via the Florida Courts E-Filing
 Portal at www.myfLeourtaccess.com or by mail or hand-delivery to an office of the Clerk of Court.
      The purpose of the pre-trial is to record your appearanee, to determine the nature of the case, and to set
 tlie case for trial if the case cannot be resolved at the pre-triAl conference.

     You may be ordered to iuediate at the pre-trial conference. Mediation xneans "A prneess whcreby a
 neutral third person called a Mediator acts to encourage and facilitate the resolution of the dispute between
 two or more parties. It is an informalprocess with the-objectivp ofhelping the disputirtg parties reach a
 imitually acceptable and voluntary agreement." You or your attorney rnust have full authority to settle
 without further consultation at pre-trial niediation.

     You or your attorney should be prepared to confer with the court and to explain briefly the nature of your
 dispute, state what efforts have been niade to settle the dispute, exhibit any docuinents necessary to prove the
 case, state na►nes and addresses of your witnesses, stipulate to the facts that will require no proof and will
 expedite the trial, and estimate how long it will take to try the case.

      If you adnxit the claun, but desire additional. time to pay, you must cozne and state the circurnstanees to
 tlie court. The court xizay or niay not approve a payment plan and withhold judgment, execution, or levy.

     RIGHT TO YENUE, The law gives the person or company wlxo has srred you the right to file in. any
 one of several places as listed below, lHotivever, if you have been sued in any place other than one of
 these places, you, as the defendant(s), have the right to request that the case be moved to a proper
 location or venue. A; proper location vr venue may be one of the following; (I.) where the contract fvas
 entered into; (2) if the suit is on an unsecured promissory note, Fvhere the note is sigzced or where tlte
 niaker resides; (3) if the suit is to recover property or to foreclose a lien, -vvhere the property is located;
 (4) where the event giving rise to the suit occurred; (5) where any one or more of the defendants sued
 reside; (6) any location agreed to in a coirtract; (7) in an action for money due, if there is no agreement
 as to wlie,re suit may be filed, where payrnent is to be made.

     Tf you; as the defendatit(s), believe the plttintiff(s) hasthave not sued in one of these correet places, you
 must appear on your court date and orally reeluest a transfer, or you must file a WRITTEN request for
 transfer in affldavit foiztl(sworn to under oath) witli the court seven days prior to your fi.rst court date and
 send a copy to the plaintiff(s) or piaintiffs (s') attorney; if any.

         A cdpy ofthe stateinent of claim shall be served with the original, alias and pluries sunlmona.

         I}ated at Clearwater, Florida oit 03 Tune, 2021.


                                                                                  KEN BtURKE, CPA
 Smai.l Clalms (jeft Pra-Triai Notice           Page 2 of 2               - ,ri
                                                                        ~`;u
                                                                          ""'~        "r r'r T"r CT~wrr oousr
                                                                                  ~t CX7MPt'ACRLER




If you are a person with a disability tvho needs any accommodation in order to participate in this
proceeding, you are entitled, at no cost to you, to the provision of certain assistance. Please contact the
Ilurnan 12ights Clffice, 400 S. Ft. Harrison Ave., Ste. 300, Clearwater, FL 33756, (727) 464-4062
(ViTDll) at least 7 days before your scheduled court appearan.ce, or irnmediately upon recciving th`is
notification if the time before the scheduled appearance is less than 7 days; if you are heariiig or voice
impaired, call 711.


                                                                                                                     £:..
